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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                           UNITED STATES DISTRICT COURT                           November 10, 2020
                            SOUTHERN DISTRICT OF TEXAS                            David J. Bradley, Clerk
                                HOUSTON DIVISION

COPPERTREE VILLAGE HOLDINGS, LLC §
and                              §
COPPERTREE APARTMENTS, LLC,      §
                                 §
       Plaintiffs,               §
VS.                              §                 CIVIL ACTION NO. 4:20-CV-00295
                                 §
TRIUMPH HOUSING MANAGEMENT, LLC §
and                              §
PAUL J. PONTE                    §
and                              §
DAVID GATES, et al,              §
                                 §
       Defendants.               §

            ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION TO
                      EXTEND RESPONSE DEADLINE

       Before the Court is plaintiffs’, Coppertree Village Holdings, LLC’s and Coppertree

Apartments LLC’s fourth unopposed motion to extend time to file response to Paul J. Ponte’s

motion to dismiss the plaintiffs’ amended Complaint (Dkt. No. 47). The Court finds that it

should be GRANTED.

       The Court ORDERS that the plaintiffs’ deadlines to respond to defendant Paul J. Ponte’s

Motion to Dismiss is extended to December 4, 2020.

       It is so ORDERED.

       SIGNED on this 9th day of November, 2020.


                                              ___________________________________
                                              Kenneth M. Hoyt
                                              United States District Judge




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